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Case 2:23-cv-03925-DSF-MAR Document 20 Filed 09/13/23 Page 1 of 1 Page ID #:112




                   UNITED STATES DISTRICT COURT
                  CENTRAL DISTRICT OF CALIFORNIA




     XIAMEN ITG GROUP CORP.,               CV 23-3925 DSF (MARx)
     LTD.,
       Petitioner,                         JUDGMENT

                       v.

     DASHIR INTERNATIONAL INC.,
       Respondent.




      The Court having granted Petitioner’s Petition to Confirm
    Arbitration Award,

          IT IS ORDERED AND ADJUDGED that the final arbitration
    award in favor of Petitioner and against Respondent, entered on
    September 19, 2022 before a tribunal at the Shanghai International
    Arbitration Center is confirmed, and that Petitioner recover costs of
    suit pursuant to a bill of costs filed in accordance with 28 U.S.C. § 1920.



     Date: 9/13/2023                      ___________________________
                                          Dale S. Fischer
                                          United States District Judge
